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UNITED sTATEs BANKRUPTCY coUR'I'
EASTERN DISTRICT oF cALIFoRNIA
111 r€= case No. 02-33141-€-7
BLUSAR MANUFACTURING, LLC, Adversary NO_ 04_2502

DC NO. FSH~Z
Debtor(S).

 

 

THOMAS ACEITUNO, Chapter 7

Trustee for Blusar Manufacturing,

  

Plaintiff(s),

FH_ED

 
  

V.

RUSSIAN ACADEMY OF SCIENCES A.N.
NESMEYANOV INSTITUTE OF
ORGANOELEMENT COMPOUNDS,

  
 
 

UNITED STAT
EA ESBANK
STEHN DlSTRICT OHFU§;CL:I"I:`S}C?>H!A

 
   

Defendant(s).

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MEMDRANDUM DECISION ON DC NO. FSH-2

Upon consideration of defendant's motion to quash service and
of the opposition thereto, the court is persuaded that service
should not be guashed. Moreover, the conduct of the defendant in
erecting every roadblock conceivable provides ample basis for
excusing service that occurred more than 120 days after the filing
of the complaint.

Further, the court is persuaded that, under the circumstances,
the third party discovery contemplated by the plaintiff is
appropriate and will be permitted.

Accordingly, an order denying the motion to quash service and

to dismiss and an order granting the counter~motion to approve

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alternative means of service and to authorize discovery will be
issued.

Dated: November lO, 2

 

UNITEW:`\TA'T'E`S/ BANKRUPTCY JUDGE

 

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CERTIFICATE OF SERVICE

On the date indicated below, l served a true and correct
copy(ies) of the attached document by placing said copy(ies) in a
postage paid envelope addressed to the person(s) hereinafter listed
and by depositing said envelope in the United States mail or by
placing said copy(ies) into an interoffice delivery receptacle
located in the Clerk’s Office. '

Thomas R. Phinney
400 Capitol Mall #2540
Sacramento, CA 95814

Fred S. Hjelmeset
275 Battery St 27th Fl
San Francisco,CA 941 ll

Dated: l/') ))L‘})D§

DEPpTY cLERK § d

 

